Case 1:17-cr-00131-MAC-KFG Document 11 Filed 06/01/20 Page 1 of 2 PageID #: 47




 UNITED STATES DISTRICT COURT                        EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                        '
                                                 '
                                                 '
 v.                                              '           NO. 1:17-CR-131-MAC
                                                 '
 EULALIO MOJICA                                  '
                                                 '

                    ORDER ADOPTING THE MAGISTRATE JUDGE’S
                        REPORT AND RECOMMENDATION

        The court referred a petition alleging violations of supervised release conditions to the

 Honorable Zack Hawthorn, United States Magistrate Judge, at Beaumont, Texas, for

 consideration pursuant to applicable laws and orders of this court. The court has received and

 considered the Report of the United States Magistrate Judge filed pursuant to such order, along

 with the record, pleadings and all available evidence.

        At the close of the revocation hearing, U.S. Magistrate Judge Zack Hawthorn

 recommended:

 1.     that the court find that the Defendant violated the first allegation in the petition that he
        failed to follow a mandatory condition of release;

 2.     revoking the Defendant’s supervised release pursuant to 18 U.S.C. § 3583; and

 3.     the Defendant should be sentenced to a term of 12 months’ imprisonment and one day,
        which shall include 180 days’ unserved community confinement (converted to an
        equivalent term of imprisonment), with one year of supervised release to follow to be
        served at the Federal Correctional Institute in Victorville, CA, to facilitate family
        visitation if the Bureau of Prisons can accommodate such request. The court adopts the
        magistrate judge’s findings for the imposition of the special conditions of supervised
        release.
Case 1:17-cr-00131-MAC-KFG Document 11 Filed 06/01/20 Page 2 of 2 PageID #: 48



       At the close of the revocation hearing, the Defendant, defense counsel and counsel for

the Government each signed a standard form waiving their right to object to the proposed

findings and recommendations contained in the magistrate judge’s report, consenting to

revocation of supervised release and imposition of the sentence recommended. The Defendant

also waived his right to be present with counsel and to speak at sentencing before the court

imposes the recommended sentence.

       Accordingly, the findings of fact and conclusions of law of the magistrate judge are

correct and the report of the magistrate judge is ADOPTED. It is therefore

       ORDERED and ADJUDGED that the petition is GRANTED and Eulalio Mojica’s

supervised release is REVOKED.

       Judgment and commitment will be entered separately, in accordance with the magistrate

judge’s recommendations.

       SIGNED at Beaumont, Texas, this 1st day of June, 2020.




                                        ________________________________________
                                                    MARCIA A. CRONE
                                             UNITED STATES DISTRICT JUDGE




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